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                           IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO


JUDY BAUER, STACY GRAY and                            Case No. 1:13-CV-00190 EJL
RICHARD UBERUAGA,
                                                       ORDER GRANTING JOINT MOTION
                       Plaintiffs,                     FOR APPROVAL OF SETTLEMENT
                                                       AGREEMENTS AND DISMISSAL OF
         v.                                            LAWSUIT WITH PREJUDICE

PROSPECT MORTGAGE, LLC,
                                                      Judge:        Hon. Edward J. Lodge
                       Defendant.



         PURSUANT TO THE PARTIES’ JOINT MOTION FOR APPROVAL OF

SETTLEMENT AGREEMENTS AND DISMISSAL OF LAWSUIT, having reviewed the

pleadings and papers on file in this action, and having considered the Parties’ arguments, the

Court makes the following findings, and good cause appearing, makes the following order:

         1.     The Parties’ Joint Motion For Approval Of Settlement Agreements and Dismissal

of Lawsuit is GRANTED;

         2.     The settlements reached by the Parties represent fair and equitable resolutions of

this action, reasonably resolve bona fide disagreements between the Parties regarding the merits

of the claims asserted by Plaintiffs, and demonstrate a good-faith intention by the Parties that the

claims of Plaintiffs be fully and finally resolved, and not re-litigated in whole or in part at any

point in the future;

         3.     The settlements reached by the Parties are approved by this Court;

         4.     Pursuant to the terms of the Parties’ confidential settlement agreements, the

above-captioned action, including Plaintiffs’ Fair Labor Standards Act claims, and all claims for

relief set forth therein, shall be dismissed with prejudice;


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         5.   Each side shall bear their own attorneys’ fees and costs, except as may otherwise

be provided in the confidential settlement agreements.

         IT IS SO ORDERED.



                                                    DATED: October 31, 2014

                                                    _________________________
                                                    Edward J. Lodge
                                                    United States District Judge




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